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 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   MATTHEW D. SEGAL
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2708
 5
 6                    IN THE UNITED STATES DISTRICT COURT
 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,        )        CASE NO. 2:08-CR-263 FCD - DAD
                                      )
10                   Plaintiff,       )        CORRECTED AND SIGNED
                                      )        STIPULATION AND PROTECTIVE
11        v.                          )        ORDER REGULATING DISCOVERY
                                      )
12   CHARLES BARKSDALE, ET. AL.,      )
                                      )
13                   Defendants.      )
14
     UNITED STATES OF AMERICA,        )        CASE NO. 2:08-CR-405 FCD
15                                    )
                     Plaintiff,       )
16                                    )
          v.                          )
17                                    )
     LAKEISHA PEARSON,                )
18                                    )
                     Defendant.       )
19                                    )
20        Pursuant to Fed. R. Crim. P. 16(d), the undersigned parties in
21   United States v. Barksdale, et. al., stipulate and agree, and
22   respectfully request that the Court order that:
23        1.   The United States shall turn over additional discovery in
24             this case, beginning with Bates Stamp 1069 (“The Protected
25             Material”).    While not every defendant in this case may be
26             entitled to each page of this discovery, disclosure of The
27             Protected Materials may better facilitate each Defendant’s
28   /////

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 1         preparation for trial and/or decision to resolve his or
 2         her case.
 3   2.    The Protected Material is now and will forever remain the
 4         property of the United States.        The Protected Material is
 5         entrusted to counsel for each Defendant only for purposes
 6         of representation in this case.
 7   3.    Counsel for each Defendant shall not make any paper or
 8         electronic copy of any Protected Material.
 9   4.    Counsel for each Defendant shall not give the Protected
10         Material to any person other than counsel’s staff or
11         investigator.    The terms “staff” and “investigator” shall
12         not be construed to describe any Defendant or other person
13         not either regularly employed by counsel or a licensed
14         investigator hired in this case.
15   5.    Any person receiving the Protected Material from counsel
16         for any Defendant shall be bound by the same obligations
17         as counsel and, further may not give the Protected
18         Material to anyone (except that the Protected Material
19         shall be returned to counsel).
20   5.    Counsel shall maintain a list of persons to whom any
21         Protected Material has been given.        Such persons shall be
22         shown a copy of this Stipulation and Order and shall sign
23         a copy of the Stipulation and Order and note that they
24         understand its terms and agree to them.
25   6.    The Defendants in this case may review the Protected
26         Materials and be aware of their contents, but shall not be
27         given control of the Protected Materials or any copies
28         thereof.

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 1        7.    Within twenty days of sentencing or dismissal of any
 2              Defendant’s case, that Defendant’s counsel shall destroy
 3              the Protected Material and so certify to the attorney for
 4              the government.
 5        8.    The foregoing notwithstanding, after the Trial
 6              Confirmation Hearing in this case, counsel, staff, and
 7              investigator for any Defendant who has confirmed for trial
 8              may make copies of the Protected Materials for trial
 9
10   //
11
12   //
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24   //
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28   //

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          Case 2:08-cr-00263-TLN Document 84 Filed 02/23/09 Page 4 of 4


 1               preparation and presentation.              Any copies must, however,
 2               remain in the possession of counsel, staff, investigator,
 3               or the Court.
 4
                                                       Respectfully Submitted,
 5
                                                       LAWRENCE G. BROWN
 6                                                     Acting United States Attorney
 7
 8   DATE: February 20, 2009                By:         /s/ Matt Segal
                                                       MATTHEW D. SEGAL
 9                                                     Assistant U.S. Attorney
10
                                                        /s/ Patrick Hanly by MDS
11   DATE: February 20, 2009                           Patrick K. Hanly, Esq.
                                                       Counsel for Charles Barksdale
12
13                                                      /s/ Tim Zindel by MDS
     DATE: February 20, 2009                           Timothy L. Zindel, Esq.
14                                                     Counsel for Donald Taylor
15
                                                        /s/ Joseph Wiseman by MDS
16   DATE: February 20, 2009                           Joseph J. Wiseman, Esq.
                                                       Counsel for Kevin Dixon
17
18                                                      /s/ Michael Bigelow by MDS
     DATE: February 20, 2009                           Michael B. Bigelow, Esq.
19                                                     Counsel for Jolene Papineau
20
21                                                      /s/ James Greiner by MDS
     DATE: February 20, 2009                           James R. Greiner, Esq.
22                                                     Counsel for Eric Mayo
23   SO ORDERED.
24   DATED: February 23, 2009.
25
26
27
28   Ddad1/orders.criminal/barksdale0263.stipord


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